UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
Nadine Gazzola, individually, and as co-owner, President, and as
BATFE Federal Firearms Licensee Responsible Person for Zero
Tolerance Manufacturing, Inc., et al.
                                                   Plaintiffs,

              -against-
                                                                        1:22-cv-1134
                                                                         (BKS/DJS)
KATHLEEN HOCHUL, in her official capacity as Governor of the
State of New York; STEVEN A. NIGRELLI, in his Official
Capacity as the Acting Superintendent of the New York State
Police; ROSSANA ROSADO, in her Official Capacity as the
Commissioner of the Department of Criminal Justice Services of
the New York State Police; and LETITIA JAMES, in her official
capacity as Attorney General of the State of New York.

                                                   Defendants.

 MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION TO STAY
 DISCOVERY PENDING RESOLUTION OF DEFENDANTS’ MOTION TO DISMISS



                                               LETITIA JAMES
                                               Attorney General of the State of New York
                                               Attorney for Defendants
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                              PRELIMINARY STATEMENT

       In this case, several New York-based gun dealers challenge a host of state laws pertaining

to the sale and purchase of firearms, including, inter alia, requirements for background checks,

safe storage, employee training, and record-keeping, as well as compliance certification

requirements. Plaintiffs assert their claims against four individually-named defendants:

“KATHLEEN HOCHUL, in her official capacity as Governor of the State of New York, STEVEN

A. NIGRELLI, in his official capacity as the Acting Superintendent of the New York State Police,

ROSSANA ROSADO, in her official capacity as the Commissioner of the Department of Criminal

Justice Services of the New York State Police, and LETITIA JAMES, in her official capacity as

the Attorney General of the State of New York.” See ECF No. 1, generally.

       On October 25, 2024, Defendants filed a motion to dismiss Plaintiffs’ Complaint in its

entirety pursuant to Fed. R. Civ. P. 12(b)(1) for lack of subject matter jurisdiction and lack of

standing and pursuant to Fed. R. Civ. P. 12(c) for judgment on the pleadings. See ECF No. 104.

Defendants respectfully request that discovery be stayed pending resolution of this motion.

       First, Defendants have made a strong showing that the Plaintiffs’ claims are unmeritorious.

Defendants’ pending motion is grounded in large part on the Second Circuit’s decision affirming

this Court’s decision to deny plaintiffs’ motion for a preliminary injunction. See Gazzola v.

Hochul, 88 F.4th 186, 196 (2d Cir. 2023). Consequently, through those decisions, both this Court

and the Second Circuit have already confirmed that several of Plaintiffs’ claims are insufficient as

a matter of law. See generally Gazzola v. Hochul, 645 F. Supp. 3d 37 (N.D.N.Y. 2022); Gazzola

v. Hochul, 88 F.4th 186 (2d Cir. 2023). The pending motion may terminate the instant matter,

which makes proceeding with discovery a waste of both the parties’ resources and judicial

resources.



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       Second, the breadth of discovery in this case has the potential to be wide-ranging and

Defendants face a heavy burden in responding to it. Even if the motion does not fully terminate

this case, many of Plaintiffs’ claims have already been rejected by the Second Circuit.

Consequently, the claims in this case—and the breadth and burden of discovery—could be

substantially reduced.

       Third, there is no risk of unfair prejudice to Plaintiffs because the Second Circuit has

already ruled that the record shows no significant potential of prejudice to the Defendants and

discovery is still in its early stages. Further, mere passage of time is insufficient to constitute

prejudice to a party opposing a stay.

                                   STATEMENT OF FACTS

       On November 1, 2022, Plaintiffs filed their Complaint for the instant matter. (ECF No. 1).

On November 8, 2022, Plaintiffs filed a motion seeking a preliminary injunction and/or temporary

restraining order. (ECF No. 13). Defendants responded to Plaintiffs’ motion (ECF No. 29),

Plaintiffs filed a reply (ECF No. 33) and the Court held an evidentiary hearing on December 1,

2022. This Court ultimately denied Plaintiffs’ motion. (ECF No. 42). Plaintiffs appealed the

decision to the Second Circuit, and the Second Circuit affirmed this Court’s decision on December

8, 2023. See Gazzola v. Hochul, 88 F.4th 186.

       After Plaintiffs unsuccessfully filed several appeals to the United States Supreme Court,

during which the parties requested that the deadline for responsive pleadings be stayed, Defendants

answered Plaintiffs’ Complaint on March 21, 2024 (ECF No. 79). Rule 26 Disclosures have been

exchanged by the parties. While the parties exchanged discovery demands on October 4, 2024,

they have not engaged in any further discovery. See ECF No. 101. On October 25, 2024,

Defendants filed a motion to dismiss Plaintiffs’ Complaint in its entirety pursuant to Fed. R. Civ.



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P. 12(b)(1) for lack of subject matter jurisdiction and lack of standing and pursuant to Fed. R. Civ.

P. 12(c) for judgment on the pleadings. ECF No. 104. For the reasons stated below, Defendants

respectfully request that discovery be stayed pending resolution of this motion.

                                              ARGUMENT

POINT I:       DISCOVERY SHOULD BE STAYED PENDING RESOLUTION OF
               DEFENDANTS’ MOTION TO DISMISS

       Defendants respectfully request that discovery in this matter be stayed, pending the results

of the motion. “‘[T]he power to stay proceedings is incidental to the power inherent in every court

to control the disposition of the cases on its docket with economy of time and effort for itself, for

counsel, and for litigants.’” Sharma v. Open Door NY Home Care Servs., Inc., 345 F.R.D. 565,

567–68 (E.D.N.Y. 2024) (citing Salese v. JP Morgan Chase & Co., No. 23-CV-153 (GRB) (JMW),

2023 WL 5047890, at *1 (E.D.N.Y. Aug. 8, 2023)). “The pendency of a dispositive motion is not,

in itself, an automatic ground for a stay.” Id., citing Weitzner v. Sciton, Inc., No. 05-CV-2533

(SLT) (MDG), 2006 WL 3827422, at *1 (E.D.N.Y. Dec. 27, 2006). However, Fed. R. Civ. P.

26(c)(1) allows a court “for good cause, [to] issue an order to protect a party or person from

annoyance, embarrassment, oppression, or undue burden or expense[.]” Id., citing Gross v.

Madison Square Garden Ent. Corp., No. 23-CV-3380 (LAK) (JLC), 2023 WL 6815052, at *1

(S.D.N.Y. Oct. 17, 2023) (citations omitted). To that end, upon a showing of good cause, “a district

court has considerable discretion to stay discovery pursuant to Rule 26(c).” Id. (citations and

quotation marks omitted).

       “[A] court determining whether to grant a stay of discovery pending a motion must look to

the particular circumstances and posture of each case.” Id., citing Alford v. City of New York, No.

11-CV-622 (ERK) (MDG), 2012 WL 947498, at *1 (E.D.N.Y. Mar. 20, 2012) (citation omitted).

“In evaluating whether a stay of discovery pending resolution of a motion to dismiss is appropriate,


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courts typically consider: (1) whether the Defendants have made a strong showing that the

plaintiff's claim is unmeritorious; (2) the breadth of discovery and the burden of responding to it;

and (3) the risk of unfair prejudice to the party opposing the stay.” Id. (citing Amron v. 3M

Minnesota Mining & Manufacturing Company, No. 23-CV-8959 (PKC) (JMW), 2024 WL

263010, at *2 (E.D.N.Y. Jan. 24, 2024) (citation and quotation marks omitted)); see also Republic

of Turkey v. Christie's, Inc., 316 F. Supp. 3d 675, 677 (S.D.N.Y. 2018).

       A. Defendants’ pending motion presents substantial arguments for dismissal that
          weigh in favor of a stay.

       The first factor that the Court must consider is whether the Defendants have made a strong

showing that the plaintiff's claim is “unmeritorious.” This factor is satisfied by a showing that the

defendant's motion presents “substantial arguments for dismissal.” Lu v. Cheer Holding, Inc., No.

24 CIV. 459 (RA) (GS), 2024 WL 1718821, at *3 (S.D.N.Y. Apr. 19, 2024). “In other words, if a

strong dispositive motion ‘may significantly narrow, if not eliminate, the issues remaining in the

case,’ then proceeding with discovery while the motion pends ‘would waste the parties' resources

and would constitute an undue burden on defendants.’” Spira v. TransUnion, LLC, No. 7:23-CV-

04319-NSR, 2023 WL 5664215, at *1 (S.D.N.Y. Sept. 1, 2023) (citing Rivera v. Heyman, 1997

WL 86394, at *1 (S.D.N.Y. Feb. 27, 1997)). Consequently, courts in this circuit have held that

good cause may be shown where “a party has filed (or sought leave to file) a dispositive motion

such as a motion to dismiss.” Id. (citing Anti-Monopoly, Inc. v. Hasbro, Inc., 1996 WL 101277,

at *2 (S.D.N.Y. Mar. 7, 1996)).

       Here, Defendants’ motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(1) and 12(c) makes

a strong showing that the plaintiffs’ claims are unmeritorious. See generally, ECF No. 104. In

fact, the motion is grounded in large part on the Second Circuit’s decision affirming this Court’s

decision to deny plaintiffs’ motion for a preliminary injunction. See Gazzola v. Hochul, 88 F.4th

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at 196. Consequently, through those decisions, both this Court and the Second Circuit have already

confirmed that several of Plaintiffs’ claims are insufficient as a matter of law. See generally

Gazzola v. Hochul, 645 F. Supp. 3d 37; Gazzola v. Hochul, 88 F.4th 186.

       Additionally, Defendants’ motion raises threshold challenges to the Court’s subject matter

jurisdiction with respect to Governor Hochul and Commissioner Rosado. ECF No. 104-7 at 10-

14. Defendants’ subject matter jurisdiction claims are further bolstered by a recent Second Circuit

decision directly applicable to this case, that establishes a defendant must be dismissed from an

action when a plaintiff moves for a preliminary injunction but fails to establish subject matter

jurisdiction. See Do No Harm v. Pfizer Inc., 96 F.4th 106, 121 (2d Cir. 2024). Dispositive motions

that raise threshold challenges to the Court’s subject matter jurisdiction weigh heavily in favor of

granting a stay of discovery pending resolution of the motion. See Cuhadar v. Savoya LLC, No.

24-CV-3615, 2024 WL 4142151, at *5 (E.D.N.Y. Sept. 11, 2024) (citing Renois v. WVMF

Funding, LLC, No. 20-CV-9281 (LTS) (DF), 2021 WL 1721818, at *1 (S.D.N.Y. Apr. 30, 2021)

(granting a stay of discovery pending the resolution of Defendants’ jurisdictional motion is

warranted)).

       Finally, because the motion seeks dismissal of Plaintiffs’ complaint in its entirety, if it

succeeds, it would be case-dispositive. See Lu, 2024 WL 1718821 at *3. Resolution of this motion

is highly likely to “shape the number and nature of the claims going forward in a manner that could

significantly impact the breadth of discovery.’” Short v. City of Rochester, No. 22-CV-6263-

EAW-MJP, 2024 WL 4002449, at *4 (W.D.N.Y. Aug. 30, 2024) (citing TentandTable.com, LLC

v. Aljibouri, No. 22-CV-78-LJV-MJR, 2022 WL 2009528, at *1 (W.D.N.Y. June 6, 2022)).

Because a decision on this motion “may significantly narrow, if not eliminate, the issues remaining

in the case” proceeding with discovery while the motion is pending would substantially waste both



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the parties' resources and the Court’s resources. See Spira, 2023 WL 5664215 at *1. Further, since

it is likely that one or more of the named defendants are not proper parties to this action, discovery

pertaining to those defendants would be exceedingly wasteful. See ECF No. 104-7 at 10-14. As

mentioned above, because many of Plaintiffs’ claims have been deemed insufficient has a matter

of law, see Gazzola v. Hochul, 88 F.4th 186, at a minimum, resolution of the pending motion will

streamline discovery issues.

       In sum, Defendants’ pending motion presents substantial arguments for dismissal that

weigh heavily in favor of a stay.

       B. The breadth of discovery and the Defendants’ burden in responding to it weighs
          in favor of a stay.

       Where, as here, the “breadth of discovery has the potential to be wide-ranging,” courts have

granted a stay pending resolution of a dispositive motion. Spira, 2023 WL 5664215 at *2 (citing

Separ v. Cnty. of Nassau, 2021 WL 2474263, at *4 (E.D.N.Y. June 17, 2021)). In this case,

Plaintiffs’ Complaint is approximately 126 pages long and challenges thirty-one New York

statutory firearms provisions. ECF No. 1, ¶¶ 28, 32. The Complaint alleges several causes of action

against four defendants, one of whom is the Governor of the State of New York, one of whom is

the Attorney General of the State of New York, and the other two defendants are cabinet-level

officials who lead two of the most significant law enforcement agencies in the State. Consequently,

the breadth of discovery in this matter is vast and the burden of responding to discovery in this

matter is immense.

       In fact, Plaintiffs recently served two separate document demands pursuant to Rule 34.

They served approximately 90 document demands directed towards the Governor (see Declaration

of Aimee Cowan, Exhibit A) and 95 document demands directed to the New York State Police

(see Cowan Decl., Exhibit B). Each document demand is broad, requiring entire state agencies (the


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New York State Police, the Division of Criminal Justice Services and the New York Attorney

General) and the office of the highest elected official in the State to search for responsive materials.

Many of the demands request records reflecting specific “communications,” which are defined

broadly in Plaintiffs’ document requests. This type of demand alone places a substantial burden

on defendants, given that electronic mail discovery could involve hundreds of custodians and

dozens of search terms. Short, 2024 WL 4002449 at *5, (citing Heinert v. Bank of Am., N.A., No.

19-CV-6081L, 2019 WL 1778145, at *2 (W.D.N.Y. Apr. 23, 2019) (finding that the burden factor

favored a stay based on “the broad and burdensome nature of the requested discovery” which seeks

information from numerous persons, and requests broad categories of documents and electronic

discovery).

       Additionally, according to Plaintiffs’ cover letter dated October 4, 2024, there are more

document demands forthcoming for the Division of Criminal Justice Services and the Office of

the Attorney General. See Exhibit C. And, Plaintiffs’ counsel indicated via email dated October 3,

2024, that she anticipates further rounds of document demands and that she intends to serve

deposition notices in January 2025 (a mere three months away), with an accompanying demand to

produce additional documents at the depositions. See Exhibit D.

       This significant burden could easily be ameliorated by waiting until a decision is reached

on the pending motion. A stay would avoid the waste of “precious resources” that would be

expended by Defendants in reviewing, analyzing, and preparing documents to respond to Plaintiff's

requests. Cohen v. Saraya USA, Inc., No. 23CV08079NJCJMW, 2024 WL 198405, at *3

(E.D.N.Y. Jan. 18, 2024); Spira, 2023 WL 5664215 at *2. And in fact, as discussed under Point I

(A), supra, “the areas of discovery may well be substantially reduced, if not eliminated, as to

certain named defendants here.” See O'Sullivan v. Deutsche Bank AG, No. 17CIV8709LTSGWG,



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2018 WL 1989585, at *8 (S.D.N.Y. Apr. 26, 2018). This factor weighs heavily in favor of a stay,

because Defendants’ motion may “obviate the need for potentially onerous discovery.” Short, 2024

WL 4002449 at *5 (citing Josie-Delerme v. Am. Gen. Fin. Corp., No. CV 2008-3166 NG/MDG,

2009 WL 497609, at *2 (E.D.N.Y. Feb. 26, 2009)).

       Additionally, “[b]y conserving judicial resources, a stay will serve not only the interest[s]

of the [Court], but also the interests of the [p]arties, the non-parties, and the public in ‘an orderly

and efficient use of judicial resources.’” Short, 2024 WL 4002449 at *6, citing Catskill Mountains

Chapter of Trout Unlimited, Inc. v. U.S. E.P.A., 630 F. Supp. 2d 295, 306 (S.D.N.Y. 2009)

(alterations added and quotation omitted). A stay while Chief Judge Sannes adjudicates the

pending motion to dismiss has “the advantage of simplifying and shortening discovery in the event

that” some, or all of plaintiffs’ claims, are resolved. Id. (citing Spinelli v. Nat'l Football League,

No. 13 CIV. 7398 (RWS), 2015 WL 7302266, at *2 (S.D.N.Y. Nov. 17, 2015) (citing Nietzke v.

Williams, 490 U.S. 319, 326–27 (1989)).

       As government entities that provide public services, “[c]ompliance with discovery in the

posture of this case would result in a substantial diversion of public resources which may not

ultimately be necessary in this action.” Id. at *7, citing Chesney v. Valley Stream Union Free Sch.

Dist. No. 24, 236 F.R.D. 113, 116 (E.D.N.Y. 2006) (alterations added). For the defendants, “it is

self-evident that the cost of discovery, coupled with the diversion of employees’ time and attention

. . . would be an unnecessary expense” if the defendants’ motion to dismiss is ultimately granted.

Id., citing United States v. County of Nassau, 188 F.R.D. 187, 189 (E.D.N.Y. 1999).

       Finally, absent a stay, the parties will undoubtedly engage in discovery disputes that will

need resolution if the matter proceeds—which could require a significant amount of the Court’s

resources. The efforts of the Court and the parties to resolve these disputes “will be for naught” if



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the defendants prevail on their motion, either in whole or in part. See Short, 2024 WL 4002449 at

*6.

       C. There is no risk of unfair prejudice to the Plaintiffs.

       If the Court were to stay discovery pending resolution of Defendants’ motion, there is no

risk of unfair prejudice to the Plaintiffs. First, the Second Circuit has already ruled that the record

shows no significant potential of prejudice to the Defendants, see Gazzola II, 88 F.4th at 197 (“But,

besides Appellants’ say-so, there is no evidence that those regulations will impose such

burdensome requirements on firearms dealers that they restrict protections conferred by the Second

Amendment.”); id. at 197 (Plaintiffs’ claim of harm “finds no support in record evidence. . . .While

a few of Appellants’ sworn declarations contain some estimates of the financial impact of New

York's commercial regulations, their declarations are speculative, focus only on their businesses,

and offer no documentary evidence in support.”). Additionally, as discussed in Defendants’

pending motion, publicly available information subject to judicial notice demonstrates that

firearms sellers (including Plaintiffs themselves) continue to market guns without substantial

interference. See ECF No. 104-7 at 25-33.

       Second, this case is still technically in its early stages—discovery responses have not yet

been exchanged and depositions have not yet taken place. While there has been motion practice in

this case, that motion was advanced by Plaintiffs, in which they sought preliminary injunctive

relief and then pursued several appeals at the Second Circuit and, subsequently, the Supreme Court

of the United States. See Spira, 2023 WL 5664215, at *2 (because minimal discovery has occurred

Plaintiff's burden thus far is minimal).

       Finally, “[t]he passage of a reasonable amount of time, without any other form of attendant

prejudice, cannot itself constitute prejudice sufficient to defeat a motion to stay discovery.

Otherwise, stays of discovery would never be granted given that some delay is inherent in any
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stay.” O'Sullivan, 2018 WL 1989585 at *9 (citing In re Initial Pub. Offering Sec. Litig., 236 F.

Supp. 2d 286, 287 (S.D.N.Y. 2002)); Spira, 2023 WL 5664215 at *2. Consequently, Plaintiffs

cannot argue that Defendants’ request for a stay should be denied solely due to the potential for

the passage of time.

       Because there is no risk of unfair prejudice to Plaintiffs, this factor weighs in favor of

granting Defendants’ motion to stay.

                                        CONCLUSION

       Defendants respectfully request that the Court stay discovery in this matter pending

resolution of the Defendants’ motion to dismiss.

 Dated: Syracuse, New York                    LETITIA JAMES
        November 1, 2024                      Attorney General of the State of New York
                                              Attorney for Defendants
                                              300 S. State Street, Ste. 300
                                              Syracuse, New York 13202

                                              By: _s/Aimee Cowan_____
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                                 CERTIFICATE OF SERVICE


       The undersigned hereby certifies that on November 1, 2024, she filed Defendants’ Motion to

Stay by electronically filing with the Clerk of the Court herein, using the CM/ECF system, which is

understood to have sent notification of such filing electronically to the following:

       Paloma A. Capanna, Esq.
       Attorney for Plaintiffs
       106-B Professional Park Drive
       Beaufort, North Carolina 28516

Dated: Syracuse, New York
       November 1, 2024
                                              LETITIA JAMES
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